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                           EXHIBIT C
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                               Bill A4769
                          Session 2022 - 2023



      Makes various revisions to requirements for obtaining a firearm
  purchaser identification card, permit to purchase a handgun, and permit
    to carry a handgun; codifies sensitive places in which firearms and
                     destructive devices are prohibited.*

 Bills and Joint Resolutions Signed by the Governor

 Identical Bill Number:S3214
 This bill has been certified by OLS for a fiscal note.


 Primary Sponsor:

        •   Danielsen, Joe
        •   Greenwald, Louis D.
        •   Jasey, Mila M.
        •   McKeon, John F.
        •   Park, Ellen J.
        •   Chaparro, Annette
        •   Scutari, Nicholas P.
        •   Greenstein, Linda R.

 Co-Sponsor:

        •   Johnson, Gordon M.
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       •   10/13/2022Introduced, Referred to Assembly Judiciary
           Committee
       •   10/17/2022Reported out of Asm. Comm. with
           Amendments, and Referred to Assembly Appropriations
           Committee
       •   10/20/2022Reported out of Assembly Comm. with
           Amendments, 2nd Reading
       •   10/24/2022Recommitted to Assembly Oversight, Reform
           and Federal Relations Committee
       •   10/24/2022Reported out of Assembly Comm. with
           Amendments, 2nd Reading
       •   11/14/2022Recommitted to Assembly Judiciary
           Committee
       •   11/14/2022Reported from Assembly Comm. as a
           Substitute, 2nd Reading
       •   11/21/2022Passed by the Assembly (43-29-1)
       •   12/1/2022Received in the Senate, Referred to Senate
           Budget and Appropriations Committee
       •   12/5/2022Reported from Senate Committee, 2nd Reading
       •   12/19/2022Substituted for S3214 (SCS)
       •   12/19/2022Passed Senate (Passed Both Houses) (21-16)
       •   12/22/2022Approved P.L.2022, c.131.

       •   Introduced
           (33 pages)PDF FormatHTML Format
       •   Statement - AJU 10/17/22
           (7 pages)PDF FormatHTML Format
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       •   Reprint - AJU 10/17/22 1R
           (26 pages)PDF FormatHTML Format
       •   Statement - AAP 10/20/22 1R
           (10 pages)PDF FormatHTML Format
       •   Statement - AOF 10/24/22 2R
           (8 pages)PDF FormatHTML Format
       •   Reprint - AOF 10/24/22 3R
           (38 pages)PDF FormatHTML Format
       •   Reprint - AAP 10/20/22 2R
           (38 pages)PDF FormatHTML Format
       •   Fiscal Estimate - 10/31/22; 3R
           (5 pages)PDF FormatHTML Format
       •   Statement - JUD 3R ACS CC 11/14/22
           (9 pages)PDF FormatHTML Format
       •   Fiscal Estimate - 11/25/22; ACS
           (6 pages)PDF FormatHTML Format
       •   Statement - SBA 12/5/22 ACS
           (8 pages)PDF FormatHTML Format
       •   Assembly Committee Substitute - AJU 11/14/22 ACS
           (39 pages)PDF FormatHTML Format
       •   Advance Law
           (38 pages)PDF FormatHTML Format
       •   Pamphlet Law
           (27 pages)PDF FormatHTML Format

 Committee Voting:
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        •   AJU - 10/17/2022 - r/Aca
            Yes: 3
            No: 2
            Not Voting: 0
            Abstain: 0

            Roll Call

        •   AAP - 10/20/2022 - r/Aca
            Yes: 7
            No: 4
            Not Voting: 0
            Abstain: 0

            Roll Call

        •   AOF - 10/24/2022 - r/Aca
            Yes: 3
            No: 2
            Not Voting: 0
            Abstain: 0

            Roll Call

        •   AJU - 11/14/2022 - r/ACS
            Yes: 3
            No: 2
            Not Voting: 0
            Abstain: 0

            Roll Call

        •   SBA - 12/5/2022 - r/ACS
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            Yes: 8
            No: 4
            Not Voting: 0
            Abstain: 0

            Roll Call
 Session Voting:
        •   Asm. 11/21/2022 - 3RDG FINAL PASSAGE
            Yes: 43
            No: 29
            Not Voting: 7
            Abstain: 1

            Roll Call

        •   Sen. 12/19/2022 - SUB FOR S-3214
            Yes: 0
            No: 0
            Not Voting: 40

            - Voice Vote Passed

        •   Sen. 12/19/2022 - 3RDG FINAL PASSAGE
            Yes: 21
            No: 16
            Not Voting: 3
            Abstain: 0

            Roll Call
